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CAS ?45B                (Rev I li 16)ludgm€ntin a CriminalCase
DC CustodylSR



                                              UNrrBnSrarBsDrsrzucrCounr
                                                          SOUTHERNDISTRICTOF GEORGIA
                                                              SAVANNAH DIVISION
                 T'NITEDSTATESOFAMEzuCA                                       )        JUDGMENT IN A CRIMINAL CASE

                               JohnYoung.Jr.
                                                                                       CaseNumber:                        4:17CR00201-1
                                                                                       USMNumber:                         22t20-021


                                                                                       SolomonA. Amusan
                                                                                       D e t e n d a n st A l t o m e !
THE DEFENDANT:
X pleadedguilty to Count
n pleadednolo contendere
                       to Count(s)                                 whichwasaccepted
                                                                                  by the court.
!   wasfoundguilty on Count(s)                               aftera pleaofnot guilty.

The defendant            guilty ofthis offense:
            is adjudicated

Title & Section                       Natureof Offense                                                                         OffenseEnded    Count

r8u.s.c.$922(9(1),                             of a firearmby a convictedfelon
                                      Possession                                                                               April 13,2017    I
l8 U.s.c.I e2a(a)(2)
                 js senlenced
     The defendant          asprovidedin pages2 tlrough                            7                                   is imposedpursuantto the
                                                                                             ofthisjudgment.The sentence
         ReformAct of 1984.
Sentencing
n Thedefendant
             hasbeenfoundnot guilty on Count(s)

n Count(s)                                       E    is !       aredismissed! asto this defendanton the motionofthe UnitedStates.

        It is orderedtbat the defendantmust noti8/ the United StatesAttomey for this disnict within 30 daysof any changeof name,
residence,or maiJingaddress until all fines,restitution,costs,andspecialassessmen*
                                                                                imposedby thisjudgmentarefully paid. If orderedto
payrestitution,thedefendant mustnotiq/ the CourtandUnitedStatesAttorneyof materialchanges    in economiccircumstances,

                                                                                  March28,20I 8
                                                                                  Dateoflmpositionof JudgDeni




                                                                                  Signature
                                                                                          ofJudge
                  (r,
         i,.      .J
         F>: :                                                                 WilliamT. Moore,Jr.
    CIF--         :A                                                           Judge,U.S.DistrictCourt
    IrIc-r{                                                                    NameaDdTitlc otJudge
    JEz           o
                  cv
    =
    r - ;t n=*    e
         a-f f
         ==
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GAS2458               Case
                     (Rev     4:17-cr-00201-WTM-GRS
                          ll/16)       in a CdminalCase
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DC CusrodyTSR

DIFENiDd\T:                JohnYoung,Jr
CAShNUMBER:                a:l7cR0Ozor-i


                                                           IMPRISONMENT

              The defendantis herebycommittedto the custodyofthe FederalBureauofPrisonsto be imprisonedfor a total
              termof: I 10monthsto be servedconcurrently             inposedin CbathamCounl,,SuperiorCoullDockelNumber
                                                        to anvsentence
              cRt7t478.

     X        The Courtmakesthe followingrecommendations       to theBureauofPrisons:
              It is recommended   thatthe defendantbe gjvencredittowardthis federalsentence for all time servedin custodysinceApril 13.
              2017. lt is recommended     that the defendantbe evaluated by Bureauof Prisons oflcials to establishhis participationin an
              appropriate  program  of substance abuse tr€atmentand  counseling
                                                                              during his term                 Designationto the federal
                                                                                              of incarceration.
              facility in Atlanta,Georgia,or Jesup,Oeorgia,is recommended.

     tr       The defendant         to the custodyofthe UnitedStatesMarshal.
                          is remanded

     tr                   shallsunenderto theUnitedStatesMarshalfor thisdistrict:
              The defendant

          nat                                 tr    a.m.     I   p.lrr.        on
          n       asnotifiedby the UnitedStatesMarshal.

     n        The defendant                                                            by theBureauofPrisons:
                          shallsunenderfor serviceofsentenceat the institutiondesignated

          !       belore2 p.m,on

          n       asnotihedby theUnitedStatesMarshal.

          !       asnotifiedby theProbationor PretrialServicesOffice.


                                                                 RETURN
I haveexecutedthisjudgmentasfolJows:




          Defendantdelivered on

at                                                 , with a celtified copy ofthisjudgment.


                                                                                                UNTTEDSTATESMARSHAL



                                                                          By
                                                                                             DEPUTYI]NITDD STATESMARSHAL
GAS2458         Case
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                    l1/16)      in aCriminalCase
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DC CustodyTSR

DEFENDANTI           Johnlbung, Jr.
CASENU\4BER:         4:1?CR0D20l -l



                                              SUPERVISEDRELEASE
                          you wi)l be on supervised
Uponreleasefiom impdsonment,                      releasefor a termof: 3 years.

                                           MANDATORY CONDITIONS

l.   You mustnot commitanotherfederal,state,or localcrime.
2.   You mustnot unlawfullypossess  a controlledsubstarce.
3.   You mustrellain from anyunlawfuluseofa controlledsubstance. You mustsubmitto 1 drugtestwithin l5 daysofrelease
     from imprisonment andat least2 periodicdrugteststhereafter,         by the court.
                                                              asdetermined
     n Theabovedrugtestingconditionis suspended,
                                              basedon the court'sdetermination
                                                                             thatyou posea low dsk of future
     substanceab\se. rcheck,
                          il applicable.)
4.                                                                                        if qpplicable.)
      K You mustcooperatein the colleclion of DNA asdirectedby the probationoffrcer. (Cheek,
5.   n You mustcomplywith therequirenentsofthe SexOffenderRegistration       andNotificationAct (34 U.S.C.120901,et seq.)as
     directedby theprobationofficer,the Bureauof Prisons,or anystatesexoffenderregistrationagencyin whichhe or sheresides,
     works,is a student,or wasconvictedof a qualifiing offense. (Check,
                                                                      fapplicable.)
6.   ! You mustparticipatein an approvedprogramfor domesticviolence.(Check,    {appticabte.)
7.   D You mustmakerestituJion   in accordancewjd: I 8 $$ U.S.C.2248,2259,2264,2327,3663,3663A,     and3664.(Check,
                                                                                                                  tfapplicable.)
8,   You mustpaytheassessment   imposed  in accordance  with 18 $ U.S,C.3013.

You mustcomplywith the standard
                              conditionsthathavebeenadoptedby this courtaswell aswith anyotherconditions
on the attachedDase.
GAS 245I}         Case
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                       I l/16) Judgrnenl
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                        JohnYoung,Jr.
CAS! NUMBIR|            4:17CR00201-1


                                  STANDARDCONDITIONSOF SUPERVISION
As pafi ofyour supervised        you mustcomplywith the followingstandardconditionsof supervision.Theseconditionsareimposed
                          release,
because  theyestablishthe basiceKpectationsfot your behaviorwhile on supervisionandidentifl'the minimumtoolsneededby probation
officersto keepinformed,reportto the courtabout,andbringaboutimprovements    in your conduciandcondition.


   t.   You mustreportto the probationoffice in the federaljudicial districtwbereyou are authorizedto residewithin 72 hoursof your
        reieasefrom imprisonment,
                                unlessfhe probationofficer instructs),outo reportto a differentprobationoffice or within a different
        time frame.
        After initially repofiingto the ptobationoffice,you will receiveinstructionstom the courtor theprobationofficerabouthow and
        whenyou mustreportto theprobationofficer,andyou mustrepoflto theprobationofficerasinstructed.
  3 . You mustnot knowinglyleavethe federaljudicial districtwhereyou areauthorizedto residewithoutfirct gettingpermissionfrom
        the courtor theprobationofficer.
  4.    You mustanswertruthfullythe questions
                                            askedby your probationofficer.
  5.    You must live at a placeapprovedby the probationofficer.If you planto changewhereyou live or anythingaboutyour Iiving
        arrangements  (suchas the peopleyou live with), you must notify the probationofficer at least 10.daysbeforethe change. If
        notiryingthe probationofl'lcerin advance1snot possibledueto unanticipated
                                                                                circumstances,  you mustnotiry theprobationofficer
        within 72 hoursofbecomingarvareofa changeor expected    change.
        You mustallowthe probationofficerto visit you at anytime at yourhomeor €lsewhere,andyou mustpermitthe probation
        officerto takeany itemsprohibitedby theconditionsofyour supervision                    in plain view.
                                                                           thathe or sheobserves
  7.    You mustwork full time (at least30 hoursper week)at a lawful qpe ofemployment,unlesstheprobationofficerexcuses     you ftom
        doingso. Ifyou do not havefull-timeemployment    you musttI)'to find full-timeemplo),mant,unt"r" tneprobatiotofficerexcuses
        you from doing so. If you plan to changewhereyou work or anyhing aboutyour work (suchas your positionor your job
                        you mustnotif, the probationoflicer at least10 daysbeforethe change.If notifuingthe probationofficerat least
        responsibilities),
        10 daysin advanceis not possibledueto unanticipated    circumstances, you mustnotifu the probationofficer within 72 hoursof
        becomingawareofa changeor expectedchange.
  8 . You mustnot communicate                        you know is engaged
                               or interactwith someone                   in criminalactivity. Ifyou know someotehas
      beenconvictedofa felony,you mustnot knowinglycommunicate   or interactwith thatpersonwithoutfirst gettingthe
      permissionof theprobationofficer.
  9.    lfyou areanestedor questioned                 officer,you mustnotifutheprobationofficerwithin 72 hours.
                                    by a law enforcement
 1 0 , You mustnot own, possess,
                               or haveaccessto a fiream, ammunition,destructivedevice,or dangerous   weapon(i.e. an).thingthal
       wasdesigned,or wasmodifiedfor, the specificpurposeofcausingbodily injury or deathto anotherpersonsuchasa nunchakus   or
       tasers).
 ll.    You mustnot act or make any agreementwith a law enforcement
                                                                  agencyto act as a confidentialhumansourceor informant
        withoutfirst gettingpermissionlrom the court.
 t2.    If the probationofficer determines
                                         that you posea dsk to anotherperson(includingan orgarization),the probationofficer may
        requireyou to notiry the personaboutthe dsk andyou mustcomplywith that instruction.The probationofticermay contactthe
        personandconfirmthatyou havenotifiedthatpersonabouttherisk.
                                     of t}leprobationofficerrelatedto the conditionsof supervision,
 1 3 . You mustfollow the instructions

U.S.ProbationOfficeUseOnly
A U.S. probation officer has insftucted me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For fi]rth€r infomation regarding these conditions, see Ovet'view of Probqtion and Supeni:ed
ReleqseConditions, available at: www.uscourts.gov.

Defendant's Signature                                                                        Date
 GAS 2458        Case
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 DEFENDANI':          JohnYouDg,Jr.
 CASENUMBER:          4:17CR00201-l




                                  SPECIALCONDITIONSOF SUPERVISION

       You nusf submitto substanceabus€testingto detenni[eif you haveuseda prohibitedsubstance.You mustnot affemptto obstruct
       or tamperwith thetestingmethods.

2.     You mustsubmityour person,property,house,residence,    office,vehjcle,papers,computers(asdefinedin 18 U.S.C.$ 1030(eXl)),
       other electroniccommunications   or data storagedevicesor media,to a searchconductedby a United Statesprobationofficer.
       Failureto submitto a searchmay be groundsfor revocationofrelease,You mustwam anyotheroccupants    thatthepremisesmaybe
       subjectto searchespursuantto this condition.The probationofficermayconducta searchunderthis conditiononly whenreasonable
       suspicionexiststhatyou haveviolateda conditionofsuperyisionandthatthe areasto be searched containevidenceofthis violation.
       Any searchmustbe conducted   at a reasonabletime andin a reasonable
                                                                         manner.
CAS2458            Case
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DEFENDANT:            JohnYoung.Jr.
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                                      CRIMINAL MONETARY PENALTIES
                mustpaythetotal criminalmonetarypenalti€sundertheschedule
    The defendant                                                       ofpaymentson Sheet6.

                                      *
              Assessment JVTA Assessment                        Fine                                  Restitutiotl
TOTALS        $IO(]

!     The determination ofrestitutionis defeneduntil                            An Amended Judgntent in q Ciminel Case(,4o215C)
      will be enteredaftersuchdetermination.

n                 mustmakerestitution(includingcommunityrestitution)to the followingpayeesin the amountlistedbelow.
      The defendant

      lf the defendantmakesa partial payment,each payeeshall receivean approximatelyproportionedpayment,unlessspecified
      otherwisein the priority order or percentage
                                                 paymentcolumnbelow. However,pursuantto l8 U,S.C. $ 3664(i),all nonfederal
      victimsmustbe DaidbeforetheUnitedStatesis naid.

Name of Pavee                         Total Loss**                       RestitutionOrdered                     Priority or Percentage




TOTALS

n     Restitutionamountorderedpursuantto pleaagreement$

n     Thedefendant  mustpay intereston restitutionanda fine of morethan$2,500,unlesstherestitutionor fine is paidin full beforethe
      fiffeenthdayafferthe dateofthejudgment,pursuantto tB U.S,C.$ 3612(0. All ofthe paymentoptionson Sheet6 maybe subject
      to penalties
                 for delinquencyanddefault, pursuantto 18U.S.C,$ 3612(g).

n                                       doesnot havetheabilityto pav interestandit is orderedthat:
      The courtdeteminedthatthe defendant

     n    the interestrequirement
                                is waivedfor the       n   fine        n restitution.
     n    the interestrequirement
                                for the     !   fine       !      reslitutionis modifiedas follows:

* Justicefor VictimsoftraffickingAct of2015,Pub.L. No. 114-22.
** Findingsfor the total amountof lossesarerequiredunderChapterc109A,110, I l0A, and I l3A' of Title 18 for offensescommittedon
or afterSeptember 13,1994,butbeforeApril23, 1996.
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DLI'LNDANT:                JohnYoung.J,.
CASENUMBER                 4117CR00201'l


                                                       SCHEDULEOFPAYMENTS
Havingassessed            ability to pay,paymentofthe total criminalmonetarypenaltiesis dueasfollows;
             thedefendant's

A    E       Lumpsumpaym€ntofs                   100        dueirnmediately.

             tr   not laterthan                                , or
             D    in accordance!       C,    !    D,    !   E,or    n F below;or
B    n      Paymentto beginimmediately(maybe combinedwith                fl   C,     n D, or         !   F below);or

C    !      Paymentin equal                (e.g.,weekly,
                                                      monthly,
                                                            qua etu installments of $         _          overa periodof
                       (eg.,months
                                 oryears),to commence _            (e.g.,30or 60days.)
                                                                                     afterthe dateofthisjudgment;or

D    !      Paymentin equal                  (e.g.,weeHy,mon,hly,quarterb,)installmentsof $                     overa periodof
                       (e.g.,monthsoryears),Io commence                 (e.g.,30 or 60 days)alier releasefrom impdsonmentto a
            termof supenision;or

E    !      Paymentduringthetermof supervisedreleasewill commence
                                                                within              (e.g.,30or60days)afterrelease{lom
            imprisonment.Thecouftwill setthepaymentplaabasedon an assessment              ability to pay at thattime;or
                                                                          ofthe defendant's

F    I      Specialinstructions
                              regardingthepaymentof criminalmonetarypenalties:




Unlessthe court hasexpresslyorderedotherwise,if thisjudgmentimposesimprisonment,
                                                                               paymentof criminalmonetarypenaltiesis due
duringimprisonment,All criminalmonetarypenalties,exceptthosepaymentsmadethroughthe FederalBureauofPrisons'InmateFinancial
Responsibility
             Program,aremadeto the clerkofthe court.


The defendant
            shallreceivecreditfor all payments
                                             previouslymadetowardanycriminalmonetarypenaltiesimposed.

!        Jointard Several
         Defendant andCo-Defendant  NamesandCaseNumbersaircluding
                                                                deJbndant
                                                                      numref),TotalAmount,JointandSeveralAmount,
         andcoffesponding payee,if appropriate.



!        The defendantshall pay the cost ofpros€cution.

!        The defendantshall pay the following court sost(s):

!        The defendantshall forfeit the defendant'sintercst in the following property to the United Statesi

Paymentsshall be applied in the following order: (l ) assessmetrt,
                                                                (2) restitution principal, (3) restitution intercst,(4) fine principal,
(5) fine interest,(6) community restitution,(7) MA Assessment,(8) penalties,and (9) costs,including cost ofprosecution and court costs.
